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DISTRICT COURT OF GUAM

Attorneys for the United States of America
IN THE UNITED STATES DISTRICT COURT

FOR THE TERRITORY OF GUAM

UNITED STATES OF AMERICA, CRIMINAL CASENO.] 9- 00032
Plaintiff, INFORMATION
POSSESSION OF FIFTY OF MORE
VS. GRAMS OF METHAMPHETAMINE
HYDROCHLORIDE WITH INTENT TO
DISTRIBUTE

[21 U.S.C. §§ 841(a)(1) & (b)(1)(A)(viii); 18
CYNTHIA LEON GUERRERO PAULINO, | U-8.C. § 2]

Defendant. NOTICE OF FORFEITURE
[21 U.S.C. § 853]

 

 

 

 

THE UNITED STATES ATTORNEY CHARGES:

On or about November 1, 2018 in the District of Guam the defendant, CYNTHIA
LEON GUERRERO PAULINO, knowingly and intentionally possessed with intent to
distribute fifty (50) or more grams of methamphetamine hydrochloride, a Schedule II
controlled substance.

All in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(A)(viii) and Title 18, United State Code, Section 2.

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NOTICE OF FORFEITURE

1. The allegations contained in this Information are hereby realleged and incorporated|
by reference for the purpose of alleging forfeitures pursuant to Title 21, United States Code,
Section 853.

2. Upon conviction of any Title 21 controlled substance offense alleged in this
Information, the defendant, CYNTHIA LEON GUERRERO PAULINO, shall forfeit to the
United States of America any property constituting, or derived from, any proceeds obtained,
directly or indirectly, as the result of such offenses and any property used, or intended to be used,
in any manner or part, to commit, or to facilitate the commission of, the offenses. The property to
be forfeited includes, but is not limited to, the following:

MONEY JUDGMENT

A sum of money representing the amount of proceeds obtained as a result of the

offense.
3. If any of the property described above, as a result of any act or omission
of the defendant:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
c. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be divided without
difficulty,
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the United States of America shall be entitled to forfeiture of substitute property pursuant to Title
21, United States Code, Section 853(p), as incorporated by Title 28, United States Code, Section
2461(c).
DATED this PA _day of October, 2019.
SHAWN N. ANDERSON

United States Attorney
Districts of Guam and the NMI

» pee
—ARURA COSAMBATARO

Assistant U.S. Attorney

 

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